                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
     GRIESING LAW, LLC,                    :
                                           :
                 Plaintiff,                : CIVIL ACTION NO. 2:22-cv-
                                           : 03302
          v.                               :
                                           :
     KLEINBARD LLC,                        :
                                           :
                                           :
                 Defendant                 :

       DEFENDANT KLEINBARD LLC’S BRIEF IN OPPOSITION TO
     PLAINTIFF GRIESING LAW, LLC’S MOTION FOR LEAVE TO FILE
                   SUPPLEMENTAL COMPLAINT

        Defendant Kleinbard LLC (“Kleinbard” or “Defendant”), by and through its

undersigned counsel Holland & Knight LLP, hereby submits this Brief in Opposition

to Griesing Law, LLC’s (“Griesing” or “Plaintiff”) Motion for Leave to File

Supplemental Complaint (the “Motion”) [Doc. No. 7] pursuant to this Court’s

August 30, 2022 Order.

I.      INTRODUCTION

        Plaintiff’s Motion should be denied on futility grounds because the putative

claim of defamation it seeks to assert against Kleinbard is implausible. The sole

basis of Plaintiff’s defamation claim is an article written in The Legal Intelligencer,

on Aug. 19, 2022, in which Kleinbard Managing Partner, Matthew H. Haverstick,

emphatically denied Plaintiff’s false accusations of discrimination as follows:
“Anyone who knows Kleinbard, and in particular the lawyers working on cases in

the lawsuit, knows that the allegations are outrageous and wrong and we will put the

lie to them when we respond to the complaint.” As a matter of law, this quote cannot

give rise to a claim of defamation for three independent reasons.

       First, the quoted statement is, at best, nothing more than an expression of

opinion and/or statement of future intent that is legally incapable of defamatory

meaning. The dictionary definition of the idiom “put the lie” means “to refute or

counter something.”1 This phrase is facially incapable of defamatory meaning.

Judge Restrepo rejected a near-identical claim of defamation based on a defendant-

lawyer’s statement to the Legal Intelligencer referring to plaintiff’s accusations in a

pending lawsuit as “completely baseless.” Downs v. Schwartz, No. 14-630, 2015

WL 4770711, at *16 (E.D. Pa. Aug. 12, 2015). The Court should reach the same

conclusion here.

       Second, to prevail on a libel claim in Pennsylvania, a plaintiff must

demonstrate actual harm. The proposed amended complaint fails to plead any facts

making Plaintiff’s boilerplate accusations of harm plausible.

       Third, Mr. Haverstick’s statement was made in response to pending litigation,

and thus should be protected by Pennsylvania’s judicial privilege, consistent with



1
 See American Heritage® Dictionary of the English Language, Fifth Edition. (2011). Retrieved
September 2 2022 from https://idioms.thefreedictionary.com/put+the+lie+to.

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the public policy behind that privilege. Plaintiff’s initial pleading attempts to paint

a wildly inaccurate, public portrait of Defendant’s diverse and highly-respected

leadership team as (falsely) harboring animus against women and minority

businesses. Nothing could be further from the truth. Mr. Haverstick’s sharp public

rebuke of false assertions to the legal community should come as no surprise, and

his public announcement to defend against Plaintiff’s provocative accusations was

measured, appropriate and warranted.

      Against this backdrop, it is apparent that Plaintiff’s Motion is not designed to

assert a valid legal theory against Kleinbard, but instead made to draw further

attention to Plaintiff’s allegations, and in the process further assail Kleinbard and its

leadership. The Court should reject this transparent strategy and deny Plaintiff’s

Motion.

II.   RELEVANT FACTUAL BACKGROUND

      Plaintiff commenced this action against Kleinbard on August 18, 2022 by

filing a four-count Complaint asserting claims for breach of contract, unjust

enrichment, tortious interference, and negligent misrepresentation (ECF No. 1) (the

“Complaint”).

      On August 19, 2022, The Legal Intelligencer published an article regarding

Plaintiff’s Complaint written by Justin Henry, Kleinbard Used Women-Owned

Firm’s Diversity Status to Get Six-Figure Pa. Contracts, Suit Claims, (the “Article”)


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in which Kleinbard Managing Partner, Matthew H. Haverstick, is quoted as follows:

“Anyone who knows Kleinbard, and in particular the lawyers working on cases in

the lawsuit, knows that the allegations are outrageous and wrong and we will put the

lie to them when we respond to the complaint.” (Pl.’s Mot. at pp. 1-2).

      By the very next business day, August 22, 2022, Plaintiff demanded a

retraction of the quoted statement and threatened to file a supplemental complaint to

include a defamation count against Defendant and Mr. Haverstick, individually. On

August 26, 2022, undersigned counsel for Defendant brought to Plaintiff’s attention

the Downs case and asked Plaintiff to refrain from proceeding with its implausible

defamation claim. Counsel encouraged Plaintiff to instead focus its efforts on an

early resolution, and offered a meeting with representatives of Defendant to discuss

same. Plaintiff refused to refrain from filing its motion, and has not followed up on

the offer to discuss early resolution. On August 26, 2022, Plaintiff filed the Motion

for Leave to File Supplemental Complaint seeking to advance a putative defamation

claim based upon the above quote from the Legal Intelligencer Article. The Court

ordered Defendant to file its response to the Motion by September 6, 2022. As

further explained below, the Motion should be denied because the proposed

amendment in the “Supplemental Complaint” to include a defamation count is futile.




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III.   LEGAL STANDARD

       The District Court may permit a party to file a supplemental pleading “setting

out any transaction, occurrence, or event that happened after the date of the pleading

to be supplemented.” See Fed. R. Civ. P. 15(d). The decision of whether to permit

a supplemental pleading is within the District Court’s discretion. See Owens–

Illinois, Inc. v. Lake Shore Land Co., 610 F.2d 1185, 1188-89 (3d Cir. 1979); see

also Burns v. Exxon Corp., 158 F.3d 336, 344 (5th Cir. 1998) (holding that district

court did not abuse its discretion in denying leave to file supplemental complaint).

Although leave to file a supplemental complaint is generally freely permitted, “bad

faith, dilatory tactics, undue prejudice to defendants, or futility,” are all grounds for

denying CMR D.N. Corp. v. City of Philadelphia, 2011 WL 857294, at *3 (E.D. Pa.

Mar. 11, 2011) (citing Tormasi, v. Hayman, 2010 WL 1878961, at *2 (D.N.J. May

10, 2010)).

       “‘Futility’ means that the complaint, as amended, would fail to state a claim

upon which relief could be granted.” Brown & Brown, Inc. v. Cola, No. 10–3898,

2011 WL 2745808, at *4 (E.D. Pa. July 13, 2011) (quoting Holst v. Oxman, 90 F.

App’x. 508, 510 (3d Cir. 2008)). The Court “may thus deny leave to amend where

the amendment would not withstand a motion to dismiss” under the pleading

standards announced by the Supreme Court in Ashcroft v. Iqbal, 129 S.Ct. 1937

(2009) and Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). See Brown,


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2011 WL 2745808, at *4-10 (denying motion for leave to amend where proposed

amendment failed to state a plausible claim for breach of contract).

IV.   ARGUMENT

      A.        The Proposed Supplemental Complaint Fails To State A Plausible
                Defamation Claim Because The Quoted Statement Is Incapable of
                Defamatory Meaning

      To state a claim for defamation under Pennsylvania law, a plaintiff must

establish: (1) the defamatory character of the communication; (2) its publication by

the defendant; (3) its application to the plaintiff; (4) the understanding by the

recipient of its defamatory meaning; (5) the understanding by the recipient of it as

intended to be applied to the plaintiff; (6) special harm resulting to the plaintiff from

its publication; and (7) abuse of a conditionally privileged occasion. 42 Pa. Cons.

Stat. § 8343.

      Procedurally, district courts should decide at the outset whether a statement is

capable of defamatory meaning. Graboff v. Colleran Firm, 744 F.3d 128, 135 (3d

Cir. 2014) (citing Thomas Merton Ctr. v. Rockwell Int’l Corp., 497 Pa. 460, 442

A.2d 213, 215–16 (1981)). A statement is defamatory if “it tends so to harm the

reputation of another as to lower him in the estimation of the community or to deter

third persons from associating or dealing with him.” Id. at 282 (quoting Birl v.

Phila. Elec. Co., 402 Pa. 297, 167 A.2d 472, 476 (1960) (internal quotation marks

omitted)). But the statement must do more than merely embarrass or annoy the


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plaintiff; it must provoke “ ‘the kind of harm which has grievously fractured [one’s]

standing in the community of respectable society.’” Tucker v. Phila. Daily

News, 577 Pa. 598, 848 A.2d 113, 124 (2004) (quoting Scott–Taylor, Inc. v.

Stokes, 425 Pa. 426, 229 A.2d 733, 734 (1967)).

      Here, Plaintiff cannot satisfy the first element required to advance a

defamation under Pennsylvania law. Plaintiff’s putative defamation claim based on

the quoted statement of Mr. Haverstick in the Article is an opinion not capable of

defamatory meaning. Courts have so held when confronted with similar statements

to the press made by defendants. E.g., Hill v. Cosby, 665 Fed. Appx. 169, 173 (3d

Cir. 2016) (statement of defendant’s wife in the press questioning the plaintiff’s

honesty in accusations against the defendant was not capable of defamatory

meaning); Riley v. Harr, 292 F.3d 282, 292 (1st Cir. 2002) (statement that the

plaintiff “had lied” was not actionable as defamation); Gotbetter v. Dow Jones &

Co., 687 N.Y.S.2d 43, 44 N.Y. App. Div. 1999) (calling plaintiff's allegations

“baseless” was “not actionable [as defamation] because the cited statement [was]

merely an opinion”).

      Judge Restrepo’s opinion in Downs v. Schwartz is particularly instructive on

this point. 2015 WL 4770711. There, the Court entered summary judgment on a

similar defamation claim where a defendant law firm publically responded to

plaintiff’s accusations in a lawsuit by calling them “completely baseless” in a letter


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to the editor to The Legal Intelligencer. Id. at *15. In Downs, this Court held that

the use of the term “baseless” by the Defendants did not transform an otherwise

accurate summary into a statement with defamatory meaning. Id. at *16. See also

Remick v. Manfredy, 238 F.3d 248, 262 (3d Cir. 2001) (“the use of catchy phrases

or hyperbole does not necessarily render statements defamatory that would

otherwise be non-actionable.”); Redco Corp. v. CBS, Inc., 758 F.2d 970, 972 (3d Cir.

1985) (statements can be protected “because they merely involve the use of colorful

language and are not defamatory”).

      Moreover, in Downs, this Court reasoned that, because the readers of The

Legal Intelligencer are other lawyers in the profession shared by the plaintiff, the

audience to which the letter to the editor was published was knowledgeable enough

to know that parties locked in heated litigation often vigorously defend themselves

when their case becomes the subject of press coverage. Id. at *16. See also

Remick, 238 F.3d at 262–63 (holding that strong words, such as “extort,” in a

publication “written in the context of two lawyers taking diametrically opposing

legal positions” are not defamatory, particularly where “the audience to which [the]

statement was allegedly published knew that it arose from bitter attorney

communications”).     Judge Restrepo held in Downs that, as a matter of law,

defendant’s words were legally deemed to not be capable of a defamatory meaning;

the defendant was simply representing itself in the press. Id.


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      Here, Mr. Haverstick’s statement that is the subject of Plaintiff’s putative

defamation claim is analytically indistinguishable from the “completely baseless”

statement found to be incapable of defamatory meaning in Downs. Mr. Haverstick’s

statements were inactionable opinions regarding the professionalism and reputation

of his firm, along with a pronouncement of his future intention to vigorously defend

against the asserted claims. Plaintiff’s suggestion that Mr. Haverstick was imputing

“legal, ethical, and business misconduct onto Griesing Law” (Pl.’s Proposed Am.

Complaint at ¶ 135) is an inaccurate and exaggerated mischaracterization of the

quote in question, which, as noted, is an idiom announcing future intention “to refute

or counter something.” Mr. Haverstick and Kleinbard cannot be subject to a

defamation claim based on the dictionary definition of the words in the question—

amounting to little more than a truthful announcement of future plans to defend

against pending litigation.

      Contextually, these statements were, as in Downs, made to The Legal

Intelligencer, an audience that this Court found to be knowledgeable enough to

recognize the non-defamatory nature of the statement. The opinion in Downs is

consistent with the Third Circuit’s own pronouncements that strong words “written

in the context of two lawyers taking diametrically opposing legal positions” are not

defamatory, particularly where “the audience to which [the] statement was allegedly

published knew that it arose from bitter attorney communications.” Remick, 238


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F.3d at 262-63. Under these cases, Plaintiff cannot plausibly allege the first element

required to advance a defamation claim under Pennsylvania law by establishing the

defamatory character of the communication. Plaintiff’s putative defamation claim

is thus futile, and Plaintiff’s Motion should be denied.

      B.     The Proposed Defamation Claim Is Implausible Because Plaintiff
             Pleads No Facts Demonstrating Special Harm

      Plaintiff’s putative defamation claim is also futile for an independent reason:

the supplemental complaint does not plead or assert any facts supporting the

essential element of actual harm. To “prevail on a libel claim in Pennsylvania, a

plaintiff need not show economic harm, but he must demonstrate actual harm.”

Durando v. Trustees of U. of Pennsylvania, No. 21-756, 2022 WL 2192943, at *6

(E.D. Pa. June 17, 2022) (citing Joseph v. Scranton Times L.P., 129 A.3d 404, 429

& n. 10 (Pa. 2015)). “Specifically, the Pennsylvania Supreme Court held in a libel

case that ‘proof of actual injury to a private plaintiff’s reputation is a prerequisite to

the recovery of damages for other actual injuries, including mental and emotional

injuries.’” Id. (quoting Joseph, 129 A.3d at 429).

      Here, Plaintiff pleads no plausible facts demonstrating actual reputational

injury. Instead, Plaintiff rests their claim on a theory of hypothetical and speculative

probabilities: that someone might, one day, Google “Griesing Law” and read The

Legal Intelligencer article containing Mr. Haverstick’s quote, and such review might

cast doubt on the Plaintiff’s claims. This far-fetched theory falls well short of the

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threshold for reputational harm established by the Pennsylvania Supreme Court in

Joseph. Plaintiff should point to facts showing actual reputational injury. See

Durando, supra. Without it, Plaintiff’s speculative belief of potential harm is

irrelevant, “because such injuries cannot alone establish the special harm element of

a defamation claim in Pennsylvania.” Id. For this additional reason, the Court

should deny Plaintiff’s Motion.

      C.     The Proposed Defamation Claim Is Implausible Because The
             Statement In Question Is Privileged
       The Court should also deny Plaintiff’s Motion as futile because the allegedly

defamatory statement is privileged.     The “publisher of [allegedly] defamatory

material is not liable if the publication was made subject to a privilege and the

privilege was not abused.” Bennett v. Itochu Int’l, Inc., 682 F. Supp. 2d 469, 476

(E.D. Pa. 2010). “Whether a privilege exists [or] applies in a given context is a

question of law for the court.” Doe v. Wyo. Valley Health Care Sys., Inc., 987 A.2d

758, 767 (Pa. Super. Ct. 2009).

      One such privilege is the “judicial privilege.” See Bochetto v. Gibson, 860

A.2d 67, 71 (Pa. 2004). The judicial privilege entitles a person “to absolute

immunity for ‘communications which are issued in the regular course of judicial

proceedings and which are pertinent and material to the redress or relief sought.’”

Id. (emphases removed) (quoting Post v. Mendel, 510 Pa. 213, 507 A.2d 351, 355

(1986)). “[T]he judicial privilege is not limited to statements made in open court.”

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Schanne v. Addis, 121 A.3d 942, 947 (Pa. 2015). It also covers “less formal

communications such as preliminary conferences and correspondence between

counsel in furtherance of the client’s interest.” Id. (quoting Pawlowski v. Smorto,

403 Pa. Super. 71, 588 A.2d 36, 41 (1991)). “The contours of the privilege ... have

been shaped by a case-by-case evaluation of whether its application in specific

circumstances is needed to advance its underlying policy objectives.” Id. at 948.

      The judicial privilege’s policy objectives include the “fundamental societal

need for justice to be administered freely and efficiently through the eliciting of

speech from parties and witnesses that may be accusatory or otherwise reflect

negatively upon another’s character.” Id. at 947. The privilege encourages “[a]ll

persons involved in a judicial proceeding ... to speak frankly and argue freely without

danger or concern that they may be required to defend their statements in a

later defamation action.” Smith v. Griffiths, 327 Pa.Super. 418, 476 A.2d 22, 24

(1984). It “is an integral part of a public policy which permits all suitors, however

bold and wicked, however virtuous and timid, to secure access to the courts of justice

to present whatever claims, true or false, real or fictitious, they seek to adjudicate.”

Post, 507 A.2d at 355.

      Extra-judicial statements, such as published accounts or statements made at

press conferences regarding judicial proceedings, are not subject to the internal

control of the courts and are not absolutely privileged. Rather, these types of


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activities are entitled to a qualified privilege. In Pennsylvania, the qualified privilege

is available to attorneys, witnesses, lay people, and the press. Heyward v. Stouffer,

No. 91-1452, 1991 WL 275604, at *2, 1991 U.S. Dist. LEXIS 18692, at *5-6

(E.D.Pa. Dec. 23, 1991) (“It is well to remember that First Amendment freedoms

attach not only to the press, but also to mere lay people as well. The qualified

privilege against defamation suits is available to anyone who fairly reports on

judicial proceedings, including the attorneys and the parties to that proceeding.”).

      In Downs, Judge Restrepo held that the law firm-defendants pronouncements

in the Legal Intelligencer encouraging readers to “continue to follow the story” and

monitor the on-going litigation remained subject to qualified judicial privilege.

Judge Restrepo rejected the plaintiff’s argument that the privilege was lost when

these statements were made to the press and encouraged readers to review the

defendant’s underlying pleadings in the litigation, which, inter alia, referred to the

plaintiff’s allegations as a “shake down.” 2015 WL 4770711, at *6, 14-15.

      As in Downs, Mr. Haverstick’s statements of opinion underscoring

Defendant’s intention to defend against the allegations in question should remain

privileged, and were clearly made in the context of pending litigation. Permitting

and protecting Mr. Haverstick’s speech is consistent with Pennsylvania public policy

protecting an attorney’s communication that bears some relationship to the on-going

proceeding. See Post, 507 A.2d at 356. Furthermore, as a matter of sound public


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policy, Plaintiff should not be permitted to use judicial privilege as both a sword and

shield—insulating its own highly inflammatory accusations of discrimination

against Kleinbard and its leadership team—while conversely seeking civil liability

and damages for Defendant’s mere indication of future intention to disprove and

defend against same. As in Downs, Mr. Haverstick did nothing other than defend

his firm in the legal media.

V.    CONCLUSION

      For all of the foregoing reasons, Defendant Kleinbard LLC respectfully

submits that this Court should deny Griesing Law, LLC’s Motion for Leave to File

a Supplemental Complaint.


                                           Respectfully submitted,

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